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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X

Jane Doe,

                          Plaintiff,                                No. 1:24-07777




                 v.

SEAN COMBS, DADDY’S HOUSE RECORDINGS INC.,
CE OPCO, LLC d/b/a COMBS GLOBAL f/k/a
COMBS ENTERPRISES LLC, BAD BOY
ENTERTAINMENT HOLDINGS, INC.,
BAD BOY PRODUCTIONS HOLDINGS, INC.,
BAD BOY BOOKS HOLDINGS, INC., BAD BOY
RECORDS LLC, BAD BOY ENTERTAINMENT LLC,
BAD BOY PRODUCTIONS LLC,
and ORGANIZATIONAL DOES 1-10.

                          Defendants.

-------------------------------------------------------X


                           MEMORANDUM OF LAW IN SUPPORT OF

                   PLAINTIFF’S MOTION TO PROCEED ANONYMOUSLY
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          Plaintiff Jane Doe (“Plaintiff”), by and through her undersigned counsel The Buzbee Law

Firm, hereby files this Memorandum of Law in Support of Plaintiff’s Motion to Proceed

Anonymously pursuant to Federal Rule of Civil Procedure (“FRCP”) 10a (the “Motion”).

                                     PRELIMINARY STATEMENT

          This lawsuit involves claims arising from Defendant Sean Combs’ (“Combs”) sexual assault and

rape of Plaintiff in 1995. In the Complaint (Dkt. No. 1), Plaintiff alleges that she was beat and then vaginally

raped on the bathroom floor. Because of the egregious nature of what happened, 1 Plaintiff filed this lawsuit

under the pseudonym of Jane Doe. There is no prejudice to Combs if Plaintiff is permitted to pursue her

claims as Jane Doe, and if required by this Court, counsel for Plaintiff will confidentially disclose her name

to counsel for Defendants. See Buzbee Decl. ¶ 3.

          As set forth in the Complaint, Combs has a history of violent and aggressive behavior and has been

the subject of numerous civil complaints. See Complaint ¶¶ 4 – 19. Currently Combs is in jail awaiting

criminal trial on charges of sex trafficking and racketeering, among other things. Id. ¶ 20. Combs, and the

people within his organizations, are dangerous.

                                                ARGUMENT

          It is well-settled that it is within the sound discretion of the court to allow a plaintiff to proceed

anonymously in judicial proceedings. See, e.g., EW v. N.Y. Blood Center, 213 F.R.D. 108, 110 (E.D.N.Y.

2003); Doe v. Smith, 189 F.R.D. 239, 242 (E.D.N.Y. 1998), vacated on rehearing and modified on other

grounds, 105 F. Supp. 2d 40, 45 (E.D.N.Y. 1999). A district court has discretion to grant an exception to

the “general requirement of disclosure of the names of parties” to permit a plaintiff to proceed under a

pseudonym. Sealed Plaintiff v. Sealed Defendant, 537 F.3d 185, 189 (2d Cir. 2008) (internal quotation

marks and citation omitted) (alteration adopted). The question for the district court is whether the plaintiff

has a “substantial privacy” interest that “outweighs the customary and constitutionally-embedded

presumption of openness in judicial proceedings.” Id. (internal quotation marks and citation omitted).


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    These details are set forth in the Complaint at ¶¶ 1:24-07777, and not repeated here.
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    I.         PLAINTIFF SHOULD BE GRANTED LEAVE TO PROCEED ANONYMOUSLY IN

               THIS LAWSUIT DUE TO THE SENSITIVE AND PERSONAL NATURE OF THE

               ALLEGATIONS.

         Plaintiff’s interest in anonymity outweighs any other factors that would justify disclosing her name.

When deciding whether a plaintiff may be allowed to maintain an action under a pseudonym, the plaintiff’s

interest in anonymity must be balanced against both the public interest in disclosure and any prejudice to

the defendant. See Sealed Plaintiff, 537 F.3d at 189-90. In balancing these interests, courts consider several

factors, including the following “non-exhaustive” list:

         (1)    whether the litigation involves matters that are highly sensitive and of a personal nature;

         (2) whether identification poses a risk of retaliatory physical or mental harm to the party seeking

               to proceed anonymously or, even more critically, to innocent nonparties;

         (3) whether identification presents other harms and the likely severity of those harms, including

               whether the injury litigated against would be incurred as a result of disclosing the plaintiff’s

               identity;

         (4) whether the plaintiff is particularly vulnerable to the possible harms of disclosure, particularly

               given his or her age;

         (5) whether the suit is challenging the actions of the government or that of private parties;

         (6) whether the defendant is prejudiced by allowing the plaintiff to press his or her claims

               anonymously, whether that prejudice (if any) differs at any particular stage of the litigation,

               and whether any prejudice can be mitigated by the district court;

         (7) whether the plaintiff’s identity has thus far been kept confidential;

         (8) whether the public’s interest in the litigation is furthered by requiring the plaintiff to disclose

               his or her identity;

         (9) whether, because of the purely legal nature of the issues presented or otherwise, there is an

               atypically weak public interest in knowing the litigants’ identities; and

         (10) whether there are any alternative mechanisms for protecting the confidentiality of the plaintiff.
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Id. at 189-90 (internal quotation marks, citations, and alterations omitted).

        A district court is not required to list each of the factors or use any particular formula as long as the

court balances the interests at stake in reaching its conclusion. See id. at 191 n.4. When balancing these

interests, these factors favor granting Plaintiff’s request to proceed anonymously in this action.

    A. This Litigation Involves Matters that are Highly Sensitive and of a Personal Nature

        As to the first factor, Plaintiff’s claims concern brutal sexual assault and rape and, accordingly, are

highly sensitive and of a personal nature. In similar circumstances, courts have recognized the need to

protect the identity of sexual assault victims. See Doe v. Smith, 105 F. Supp. 2d 40 (E.D.N.Y. 1999)

(allowing victim of sexual abuse to proceed anonymously); see also Doe v. Blue Cross & Blue Shield United

of Wis., 112 F.3d 869 (7th Cir. 1997) (recognizing rape victims as entitled to anonymity). An action need

not involve rape or sexual assault specifically in order to permit a plaintiff to proceed as a Jane Doe. See

Trooper 1 v. N.Y. State Police, No. 22 Civ. 00893 (LDH) (TAM), ECF No. 37. In Trooper 1, the court held:

        Even though Plaintiff has not offered corroboration for her claimed risks of harm
        at this stage, in light of the allegations contained in the complaint and the high-
        profile nature of the case, having the plaintiff’s name in the public domain,
        especially in the Internet age, could subject the plaintiff to future unnecessary
        interrogation, criticism, or psychological trauma, as a result of bringing this case.
        As a result, the Court finds that a “chilling effect” could result from Plaintiff’s
        being required to reveal her identity, which weighs in favor of permitting Plaintiff
        to continue anonymously.

Id. (citations and quotations omitted). Here, Combs is a public figure and the media attention to this case

has been substantial. This is especially so given that this and other civil lawsuits have followed Combs’

criminal indictment as well..

        Given this confluence of events, the media attention of this action would undoubtedly create a

chilling effect on future plaintiffs in similar circumstances should Plaintiff be forced to disclose her identity.

See, e.g., Doe v. Colgate Univ., No. 15 Civ. 1069 (LEK) (DEP), 2016 WL 1448829, at *3 (N.D.N.Y. Apr.

12, 2016) (“The Court is also mindful of the potential chilling effect that forcing Plaintiff to reveal his

identity would have on future plaintiffs facing similar situations.”); Doe v. Cabrera, 307 F.R.D. 1, 7
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(D.D.C. 2014). See also Doe 1 v. McAdam Fin. Grp. LLC, No. 22 Civ. 00113 (GHW) (SN), 2022 WL

3579700 (S.D.N.Y. Aug. 3, 2022).

    B. Plaintiff’s Identification Poses a Risk of Retaliatory Physical and/or Mental Harm

        The second factor is similarly satisfied in favor of granting anonymity, as Plaintiff’s identification

poses a risk of both physical and mental harm. In terms of physical harm, Combs threatened Plaintiff with

physical harm if she spoke about the sexual assault with anyone, specifically telling her “You better not tell

anyone about this, or you will disappear,” after he raped her. See Buzbee Decl. ¶ 6. Further, nearly all of

the victims represented by Plaintiff’s counsel’s firm experienced similar threats of violence against either

themselves or their loved ones. See Buzbee Decl. ¶ 4. “If disclosure creates risk of harm from third parties,

disclosure is disfavored.” Doe v. Townes, No. 19-CV-8034 (ALC) (OTW), 2020 WL 2395159, at *4

(S.D.N.Y. May 12, 2020). There is a significant risk here of physical harm to Plaintiff that cannot be

ignored.

        In terms of mental harm, Plaintiff’s experiences, which as described in the Complaint are deeply

traumatic, and having those experiences played out in a public forum could spark more trauma for Plaintiff.

See Doe 140 v. Archdiocese of Portland in Or., 249 F.R.D. 358, 361 (D. Or. 2008) (explaining that “the

experience of sexual abuse can be deeply psychologically traumatic, and public knowledge of such abuse

can trigger new trauma even years after the fact”). Under circumstances in which disclosure of a party’s

identity could cause further injury, anonymity is routinely permitted. See Doe v. Smith, 105 F. Supp. 2d at

44 (holding that sexual abuse victim may proceed anonymously where victim’s doctor opined that

revelation of her identity would cause emotional injury); Doe v. Diocese Corp., 647 A.2d 1067, 1072 (Conn.

1994) (therapist opined that disclosure of clergy abuse victim’s identity would cause a setback in his

treatment); Roe v. Borup, 500 F. Supp. 127 (E.D. Wis. 1980). In this case, the filing of this lawsuit has

garnered significant attention in the press, and if Plaintiff’s identity is revealed to the public, there is little

doubt that she would be inundated with unwanted attention from the media that would cause her extreme

psychological distress. Plaintiff has already suffered serious injuries to her mental health due to the
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significant trauma she experienced as a result of Combs’ sexual assault and rape, as well as fearing for her

safety. She would certainly experience significant harm if she is forced to reveal her identity to the public.

    C. Defendant Combs and the Other Defendants Will Not be Prejudiced by Allowing the Plaintiff to

        Pursue Her Claims Anonymously

        Protecting Plaintiff by allowing her use of a pseudonym will not prejudice Defendants. The

Complaint sets forth the factual basis for Plaintiff’s claims in detail. Combs cannot claim to be prejudiced

in discovery here simply because Plaintiff may proceed anonymously – other than a few words exchanged

prior to the assault, Plaintiff was anonymous to Combs before, during and after the sexual assault described

in the Complaint. And Combs, through his violent behavior and then threats of violence after the event,

himself created the very conditions that now drive Plaintiff’s need to proceed anonymously in this action.

        Defendants will have access to Plaintiff’s discoverable information, and will still have the right to

depose or confer with any and all witnesses, conduct full discovery in accordance with the Rules of Civil

Procedure, and obtain any and all documents. There is neither potential prejudice to the Defendants nor a

possibility of confusion of identities. Thus, allowing Plaintiff to proceed anonymously will not result in

prejudice to the Defendants or in any way interfere with the policy underlying Rule 10a of the Federal Rules

of Civil Procedure of apprising the parties of the identity of their opponent. As such, Defendants will suffer

no prejudice if Plaintiff is to pursue her claims under the Jane Doe pseudonym.

        In any event, we are at the earliest stages of this case. Defendants’ next step is to answer or file a

motion to dismiss, neither of which requires disclosure of Plaintiff’s identity. Any arguments regarding

Defendants’ need for additional information about Plaintiff later in the case are premature, and can be dealt

with in the ordinary course of litigation as the case proceeds. See Grottano v. City of New York, No. 15

Civ. 9242, 2016 WL 2604803, at *3 (S.D.N.Y. Mar. 30, 2016) (granting motion to proceed anonymously

and rejecting arguments about impact of anonymity in later stages of litigation). This Court has routinely

granted initial leave to file a complaint pseudonymously while reserving the right to order disclosure of a

plaintiff’s identity at a later stage, suggesting that the standard for making the requisite showing is lower at

the pleading stage. See, e.g., Doe v. Delta Airlines, Inc., 310 F.R.D. 222, 223 (S.D.N.Y. 2015) (denying
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motion to proceed pseudonymously at trial after allowing plaintiff to proceed under pseudonym earlier in

case).

    D. Plaintiff has Kept Her Identity Confidential

         Further, Plaintiff has taken steps to keep her identity confidential. For example, she has not spoken

publicly about the incidents that underly the causes of action. Buzbee Decl. ¶ 7.

    E. The Public Will Not be Prejudiced if Plaintiff Proceeds Anonymously

         “[P]arty anonymity does not obstruct the public’s view of the issues joined or the court’s

performance in resolving them.” Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (holding that Plaintiff

suing government was entitled to proceed anonymously). “The assurance of fairness preserved by public

presence at a trial is not lost when one party’s cause is pursued under a fictitious name.” Id. Rather, it

would seem that the public has a far greater interest in knowing who is accused of sexual abuse and where

the abuse is alleged to have occurred than any interest in knowing the specific identity of a victim. In EW,

213 F.R.D. 108, the court held that the privacy rights of a patient who brought suit against a blood bank

after receiving a tainted blood transfusion outweighed any First Amendment interest in access to her name.

The court noted, “[t]he modern invention of today includes access to court files by those surfing the Internet.

The facts of this case provide no occasion for imposing such an invasion of privacy as the price for litigating

a legitimate private complaint.” Id. at 112-13. In this case, the sensitive and personal nature of Plaintiff’s

allegations of rape and the likelihood of further psychological injury overcomes any presumption of

openness.

    F. Allowing Plaintiff to Proceed Anonymously Furthers Public Interest

         The Court’s favor granting anonymity in these circumstances, as allowing Plaintiff to proceed

anonymously, furthers the public interest. In Doe v. Evans, 202 F.R.D. 173 (E.D. Pa. 2001), the plaintiff

requested that she be able to proceed anonymously. As here, the plaintiff in Evans was a victim of sexual

assault. In considering the public interest, the court determined that “the public generally has a strong

interest in protecting the identities of sexual assault victims so that other victims will not be deterred from
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reporting such crimes.” Id. at 176. Plaintiff requests the same consideration here to protect her identity

and she would suffer significant psychological harm if she is forced to reveal her identity to the public.

                                              CONCLUSION

        For the reasons stated herein, Plaintiff respectfully requests that this Court grant Plaintiff’s Motion

for Leave to Proceed Anonymously in its entirety, and all other relief this Court deems just and

appropriate.

Dated: January 13, 2025


                                                   Respectfully submitted,

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                                                  -    AND -
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